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                             UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF RHODE ISLAND


 STATE OF RHODE ISLAND; STATE OF
 NEW YORK; STATE OF HAWAI‘I; STATE
 OF ARIZONA; STATE OF CALIFORNIA;
 STATE OF COLORADO; STATE OF
 CONNECTICUT; STATE OF DELAWARE;
 STATE OF ILLINOIS; STATE OF MAINE;      Case No.: 1:25-cv-
 STATE OF MARYLAND;
 COMMONWEALTH OF MASSACHUSETTS;
 PEOPLE OF THE STATE OF MICHIGAN;   COMPLAINT FOR
 STATE OF MINNESOTA; STATE OF       DECLARATORY AND
 NEVADA; STATE OF NEW JERSEY; STATE INJUNCTIVE RELIEF
 OF NEW MEXICO; STATE OF OREGON;
 STATE OF VERMONT; STATE OF
 WASHINGTON; STATE OF WISCONSIN;    REQUEST FOR EMERGENCY
                                    TEMPORARY RESTRAINING
      Plaintiffs,                   ORDER UNDER FEDERAL RULE
                                    OF CIVIL PROCEDURE 65(B)
      v.

 DONALD J. TRUMP, in his official capacity as
 President of the United States; INSTITUTE OF
 MUSEUM AND LIBRARY SERVICES;
 KEITH E. SONDERLING, in his official
 capacity as Acting Director of the Institute of
 Museum and Library Services; MINORITY
 BUSINESS AND DEVELOPMENT AGENCY;
 MADIHA D. LATIF, in her official capacity as
 Deputy Under Secretary of Commerce for
 Minority Business Development; HOWARD
 LUTNICK, in his official capacity as Secretary
 of Commerce; FEDERAL MEDIATION AND
 CONCILIATION SERVICE; GREGORY
 GOLDSTEIN, in his official capacity as Acting
 Director of the Federal Mediation and
 Conciliation Service; U.S. OFFICE OF
 MANAGEMENT AND BUDGET; RUSSELL
 T. VOUGHT, in his official capacity as Director
 of the Office of Management and Budget;

        Defendants.




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                                        INTRODUCTION

        1.       President Trump is leading a campaign to dismantle vast swaths of the federal

 government. He has directed agencies to freeze the expenditure of funds appropriated by

 Congress, orchestrated the mass firings of federal probationary employees without following the

 requisite statutory procedures, and ordered agency after agency established by Congress—the

 Department of Education, the U.S. Agency for International Development, the Consumer

 Financial Protection Bureau, the U.S. Institute of Peace, and still others—to be shut down. But

 whatever the President’s policy preferences, he cannot override the congressional enactments

 that authorize federal agencies, appropriate funds for them to administer, and define how they

 must operate.

        2.       This case concerns one of the President’s most recent attempts to dismantle

 agencies in defiance of Congress’s directives—and this time, seven agencies are in the

 crosshairs. On March 14, the President issued an Executive Order (the “Closure Order”)

 directing the Institute of Museum and Library Services, the Minority Business Development

 Agency, the Federal Mediation and Conciliation Service, and four other agencies to eliminate

 every one of their programs and components not mandated by statute, and to reduce their

 statutorily mandated functions and associated staff to the minimum required by law. Exec. Order

 No. 14,238, “Continuing the Reduction of the Federal Bureaucracy,” § 2(a) (Mar. 14, 2025). The

 President also ordered the Office of Management and Budget to deny these agencies

 authorization to spend federal funds for any functions beyond the minimum required by statute.

 Id. § 2(c). Within one week, all seven agencies were required to report that they had achieved

 “full compliance” with the President’s order. Id. § 2(b).




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        3.      For at least three agencies, “full compliance” has meant gutting every one of their

 operations—statutorily mandated or not. The Institute of Museum and Library Services (IMLS)

 has placed 85% of its staff on administrative leave, dramatically curtailed the administration of

 hundreds of grants and grant applications, and terminated statutorily mandated grant awards to

 several States. The Minority Business Development Agency (MBDA) has cut its staff from

 roughly 40 to just five individuals and effectively ceased new grant solicitations. And the

 Federal Mediation and Conciliation Service (FMCS) has slashed its staff from roughly 200 to

 fewer than 15 individuals and announced the termination of several of its core programs,

 including its mediation program for public sector entities.

        4.      If permitted to stand, the shredding of these statutorily mandated agencies will

 inflict immediate and irreparable harms on the Plaintiff States, their residents, and the public at

 large. The States rely on IMLS, MBDA, and FMCS to support their public libraries and

 museums, assist state entities in extending contracting opportunities to disadvantaged

 individuals, and prevent and resolve public-sector labor disputes involving State entities. The

 sudden halting of the agencies’ work after decades of close cooperation will immediately put at

 risk hundreds of millions of dollars in grant funding on which the States depend, and undermine

 library programs, economic opportunity, and the free flow of commerce throughout the country.

        5.      The Administration cannot dismantle federal agencies in this way. The Closure

 Order and the actions that Defendants have taken to implement it are illegal several times over.

        6.      First, the Closure Order directs agencies to take action that is, on its face, arbitrary

 and capricious. It orders the agencies named in the Closure Order to categorically abandon every

 one of their discretionary functions, programs, and offices, and to strip their statutory programs

 to the bare minimum, without weighing the costs and benefits of these programs, accounting for



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 the reliance interests they have created, considering alternatives, or otherwise engaging in

 reasoned analysis. Just five years ago, when one agency attempted to eliminate a single

 discretionary program without reasoned analysis, the Supreme Court instructed that “when an

 agency rescinds a prior policy its reasoned analysis must consider the ‘alternative[s]’ that are

 ‘within the ambit of the existing [policy],’” “assess whether there were reliance interests,” and

 “weigh any such interests against competing policy concerns.” Dep’t of Homeland Sec. v.

 Regents of the Univ. of Cal., 591 U.S. 1, 30, 33 (2020) (quoting Motor Vehicle Mfrs. Ass’n of

 U.S., Inc. v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 51 (1983)). The Closure Order

 compels seven agencies to abandon all of their discretionary programs without engaging in a

 shred of reasoned analysis—and the agencies have carried out that categorical directive just as

 the President instructed. The Administrative Procedure Act violation is palpable.

        7.      Second, by stripping these agencies well past the studs, the Administration has

 flouted Congress’s directives. All of the agencies subject to the Closure Order were established

 by Congress and given a detailed set of statutory duties. In their spree to gut these agencies,

 Defendants have eliminated many of the programs that the agencies are statutorily required to

 carry out. In addition, the day after the President issued this order, Congress passed and the

 President signed a statute appropriating tens or hundreds of millions of dollars to each of these

 agencies. Those appropriations pay for the agencies to continue operating at full strength

 through the end of the fiscal year. The Executive may not decline to spend those funds by

 slashing the agencies’ staff to the bare minimum, shuttering most of their offices and programs,

 and refusing to use or disburse the money that Congress appropriated.

        8.      Third, and for much the same reasons, the orders violate the Constitution’s

 separation of powers, which assigns Congress the power of the purse, and the Take Care Clause,



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 which entrusts the President with the responsibility to faithfully carry out the laws Congress

 enacted.

         9.      If the President disagrees with Congress’s decision to support the Nation’s

 libraries and museums, and enable the peaceful mediation of labor disputes, he is free to seek

 legislation abolishing the agencies that perform these—and many other—vital functions. One

 option that our Constitution does not give the President is to shutter the agencies himself, in

 defiance of the administrative procedures that Congress required to be followed, the

 appropriations that Congress ordered to be spent, and the separation of powers that every officer

 of our government has sworn to uphold. Accordingly, the Closure Order should be declared

 unlawful, and Defendants’ actions implementing that unlawful order should be vacated.

                                   JURISDICTION AND VENUE

         10.     This Court has jurisdiction over this Complaint under 28 U.S.C. § 1331, 28

 U.S.C. § 1361, and 5 U.S.C. § 702.

         11.     There is a controversy under 28 U.S.C. § 2201(a), and this Court may grant

 declaratory relief, injunctive relief, and other appropriate relief under 28 U.S.C. §§ 1361, 2201–

 2202, 5 U.S.C. §§ 704–706 and the Court’s equitable powers.

         12.     Venue is proper in this district pursuant to 28 U.S.C. §§ 1391(b)(2) and (e)(1).

 Defendants are United States agencies or officers sued in their official capacities. Rhode Island

 is a resident of this district, and a substantial part of the events or omissions giving rise to this

 Complaint occurred and continues to occur within the District of Rhode Island.




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                                               PARTIES

         I.     Plaintiffs

         13.    The State of Rhode Island is a sovereign state in the United States of America.

 Rhode Island is represented by Attorney General Peter F. Neronha, who is the chief law

 enforcement officer of Rhode Island.

         14.    Plaintiff State of New York is a sovereign state of the United States of America.

 As a body politic and a sovereign entity, it brings this action on behalf of itself and as trustee,

 guardian, and representative of all residents, and political subdivisions of New York. Attorney

 General Letitia James is the chief law enforcement officer for New York.

         15.    Plaintiff State of Hawaiʻi is a sovereign state of the United States of America.

 Hawaiʻi is represented by Attorney General Anne E. Lopez, Hawai‘i’s chief legal officer and

 chief law enforcement officer, who is authorized by Hawai’i Revised Statutes § 28-1 to pursue

 this action.

         16.    Plaintiff the State of Arizona is a sovereign state of the United States of America.

 Arizona is represented by Attorney General Kristin K. Mayes, who is the chief law enforcement

 officer for Arizona and authorized to pursue this action on behalf of the State. See Ariz. Rev. Stat.

 § 41-192(A).

         17.    Plaintiff the State of California is a sovereign state in the United States of

 America. California is represented by Attorney General Rob Bonta, who is the chief law

 enforcement officer of California.

         18.    The State of Colorado is a sovereign state in the United States of America.

 Colorado is represented by Phil Weiser, the Attorney General of Colorado. The Attorney General




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 acts as the chief legal representative of the state and is authorized by Colo Rev. Stat. § 24-31-101

 to pursue this action.

        19.     Plaintiff State of Connecticut is a sovereign state of the United States of America.

 Connecticut is represented by and through its chief legal officer, Attorney General William Tong,

 who is authorized under General Statutes § 3-125 to pursue this action on behalf of the State of

 Connecticut.

        20.     Plaintiff State of Delaware, represented by and through its Attorney General,

 Kathleen Jennings, is a sovereign state of the United States of America. The Attorney General is

 Delaware’s chief law enforcement officer and is authorized to pursue this action pursuant to 29

 Del. C. § 2504.

        21.     Plaintiff the State of Illinois is a sovereign state of the United States. It is

 represented in this action by the Attorney General of Illinois Kwame Raoul, who is the chief

 legal officer of the State and is authorized to pursue this action on behalf of the State pursuant to

 Article V, Section 15 of the Illinois Constitution and Chapter 15, Act 205, Section 4 of the

 Illinois Compiled Statutes.

        22.     Plaintiff the State of Maine is a sovereign state of the United States of

 America. Maine is represented by Aaron M. Frey, the Attorney General of Maine. The Attorney

 General is authorized to pursue this action pursuant to 5 Me. Rev. Stat. § 191.

        23.     Plaintiff the State of Maryland is a sovereign state of the United States of

 America. Maryland is represented by and through its chief legal officer, Attorney General

 Anthony G. Brown. Under the Constitution of Maryland, and as directed by the Maryland

 General Assembly, the Attorney General has the authority to file suit to challenge action by the




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 federal government that threatens the public interest and welfare of Maryland residents. Md.

 Const. art. V, § 3(a)(2); 2017 Md. Laws, J. Res. 1.

        24.     The Commonwealth of Massachusetts is a sovereign state of the United States of

 America. Massachusetts is represented by Attorney General Andrea Joy Campbell, the

 Commonwealth’s chief legal officer.

        25.     Plaintiff the People of the State of Michigan is represented by Attorney General

 Dana Nessel. The Attorney General is Michigan’s chief law enforcement officer and is

 authorized to bring this action on behalf of the People of the State of Michigan pursuant to Mich.

 Comp. Laws § 14.28.

        26.     Plaintiff State of Minnesota is a sovereign state of the United States of America.

 Minnesota is represented by Attorney General Keith Ellison, who is the chief legal officer of

 Minnesota.

        27.     Plaintiff State of Nevada, represented by and through Attorney General Aaron D.

 Ford, is a sovereign State within the United States of America. The Attorney General is the chief

 law enforcement officer of the State of Nevada and is authorized to pursue this action under Nev.

 Rev. Stat. 228.110 and Nev. Rev. Stat. 228.170.

        28.     Plaintiff State of New Jersey is a sovereign state in the United States of America.

 New Jersey is represented by Attorney General Matthew Platkin, who is the chief law

 enforcement officer of New Jersey.

        29.     Plaintiff State of New Mexico is a sovereign state in the United States of America.

 New Mexico is represented by Attorney General Raúl Torrez, who is the chief law enforcement

 officer authorized by N.M. Stat. Ann. § 8-5-2 to pursue this action.




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         30.     Plaintiff the State of Oregon is a sovereign state of the United States of America.

 Oregon is represented by Attorney General Dan Rayfield, who is Oregon’s chief legal officer and

 is authorized to represent the State in this Court.

         31.     Plaintiff the State of Vermont is a sovereign state of the United States of America.

 Vermont is represented by Attorney General Charity R. Clark, who is Vermont’s chief legal

 officer and is authorized to pursue this action on behalf of the State. Vt. Stat. Ann. tit. 3, § 159.

         32.     Plaintiff the State of Washington is a sovereign state of the United States of

 America. Washington is represented by Attorney General Nicholas W. Brown. The Attorney

 General of Washington is the chief legal adviser to the State and is authorized to act in federal

 court on behalf of the State on matters of public concern. Chapter 43.10 RCW.

         33.     Plaintiff State of Wisconsin is a sovereign state of the United States of America.

 Wisconsin is represented by Attorney General Josh Kaul, who is the chief law enforcement

 officer of Wisconsin.

         II.     Defendants

         34.     Defendant Donald J. Trump is the President of the United States. He is sued in

 his official capacity.

         35.     Defendant Institute of Museum and Library Services is an independent federal

 agency. See 20 U.S.C. § 9102. It is an agency for the purposes of the Administrative Procedure

 Act.

         36.     Defendant Keith E. Sonderling is the Acting Director of the Institute of Museum

 and Library Services and is the statutory head of IMLS. Id. § 9103(a)(1). In that capacity, he is

 responsible for implementing the Closure Order. He is sued in his official capacity.




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         37.      Defendant Minority Business and Development Agency is a bureau of the United

 States Department of Commerce. 15 U.S.C. § 9502(a). It is an agency for purposes of the

 Administrative Procedure Act.

         38.      Defendant Madiha D. Latif is the Deputy Under Secretary of Commerce for

 Minority Business Development and the statutory head of the MBDA. Id. § 9502(b)(1). She is

 sued in her official capacity.

         39.      Defendant Howard Lutnick is the United States Secretary of Commerce, to whom

 the head of the MBDA directly reports. Id. § 9502(b)(1)(C). He is sued in his official capacity.

         40.      Defendant Federal Mediation and Conciliation Service is an independent agency

 of the United States. 29 U.S.C. § 172(a). It is an agency for purposes of the Administrative

 Procedure Act.

         41.      Defendant Gregory Goldstein is the Acting Director of the Federal Mediation and

 Conciliation Service. In that capacity, he is responsible for implementing the Closure Order. He

 is sued in his official capacity.

         42.      Defendant the United States Office of Management and Budget is an office in the

 Executive Office of the President. 31 U.S.C. § 501. It is an agency for purposes of the

 Administrative Procedure Act.

         43.      Defendant Russell T. Vought is the Director of the Office of Management and

 Budget. He is sued in his official capacity.




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                                             FACTUAL ALLEGATIONS

 I.      The Administration’s Efforts to Dismantle Disfavored Federal Agencies

         44.      The Closure Order is the most recent—and among the most brazen—of a

 lengthening series of efforts this Administration has undertaken to dissolve federal agencies

 established by Congress.

         45.      The first of those efforts began within hours of the President’s inauguration. That

 day, the President ordered a pause on all funding provided by the U.S. Agency for International

 Development (USAID). See Exec. Order. No. 14,169, “Reevaluating and Realigning United States

 Foreign Aid” (Jan. 20, 2025). Shortly thereafter, the Administration attempted to fire or put on

 leave thousands of USAID workers, close the agency’s headquarters, and cancel the bulk of its

 $40 billion in contracts and grants. 1 One court has enjoined these efforts in part, finding a

 likelihood of success on plaintiffs’ claims that the Administration lacked a reasoned basis for

 categorically suspending the agency’s foreign aid programs, and that the Administration violated

 the separation of powers by refusing to spend the funds that Congress appropriated. Aids Vaccine

 Advoc. Coal. v. U.S. Dep’t of State, --- F. Supp. 3d ---, 2025 WL 752378, at *10-11, *14-17 (D.D.C.

 Mar. 10, 2025). 2

         46.      The Administration next attempted to kneecap the Consumer Financial Protection

 Bureau (CFPB). On February 10, the Acting Director of the CFPB ordered all employees to stop


 1
   See USAID, Notification of Administrative Leave, available at https://www.usaid.gov/; Center for Global
 Development, New Estimates of the USAID Cuts (Mar. 20, 2025) available at https://www.cgdev.org/blog/new-
 estimates-usaid-cuts.
 2
   In a separate suit, the District Court for the District of Maryland held that the Department of Government
 Efficiency (DOGE) unlawfully directed the closure of USAID and issued a preliminary injunction ordering DOGE
 officials to reverse the closure. See Does 1-26 v. Musk, --- F. Supp. 3d ---, 2025 WL 840574, at *32 (D. Md. Mar.
 18, 2025). The Fourth Circuit stayed the district court’s injunction because it concluded DOGE was likely not a
 proper defendant. Does 1-26 v. Musk, No. 25-1273 (4th Cir. Mar. 28, 2025). Judge Gregory wrote separately to
 explain that, while he agreed DOGE was likely not a proper defendant, the Administration’s “actions in closing
 USAID” were “likely unconstitutional.” Id. at 16 (Gregory, J., concurring only in the result).


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 work and engaged in “a hurried effort to dismantle and disable the agency entirely—firing all

 probationary and term-limited employees without cause, cutting off funding, terminating contracts,

 closing all of the offices, and implementing a reduction in force (‘RIF’) that would cover everyone

 else.” Nat’l Treasury Emps. Union v. Vought, --- F. Supp. 3d ---, 2025 WL 942772, at *1 (D.D.C.

 Mar. 28, 2025). A district court enjoined those efforts, holding that the Administration’s attempt

 to shut down an agency created by statute was likely unconstitutional and contrary to law. Id. at

 *20, *40.

         47.      On February 11, the Administration made clear that its demolition campaign would

 extend throughout the federal government. That day, the President issued an executive order

 directing every federal agency to “submit a plan to reduce the size of the Federal Government’s

 workforce,” and to “promptly undertake preparations to initiate large-scale reductions in force

 (RIFs).” Exec. Order. No. 14,210, “Implementing the President’s ‘Department of Government

 Efficiency’ Workforce Optimization Initiative,” § 3(a), (c) (Feb. 11, 2025). He required these RIFs

 to prioritize the elimination of “[a]ll offices that perform functions not mandated by statute or other

 law.” Id. § 3(c). The Office of Management and Budget and the Office of Personnel Management

 issued a companion memorandum emphasizing that agencies should “focus on the maximum

 elimination of functions that are not statutorily mandated.” 3

         48.      On February 19, the President targeted four more federal agencies for elimination.

 In an order entitled “Commencing the Reduction of the Federal Bureaucracy,” Exec. Order. No.

 14,217, § 1 (Feb. 19, 2025), he instructed four federal entities, including the U.S. Institute of Peace,



 3
   See Memorandum for Heads of Executive Agencies and Departments, from Russell T. Vought, Director, Office of
 Management and Budget, and Charles Ezell, Acting Director, Office of Personnel Management, “Guidance on
 Agency RIFs and Reorganization Plans Requested by Implementing The President’s ‘Department of Government
 Efficiency’ Workforce Optimization Initiative,” at 2 (Feb. 26, 2025), https://www.opm.gov/policy-data-
 oversight/latest-memos/guidance-on-agency-rif-and-reorganization-plans-requested-by-implementing-the-president-
 s-department-of-government-efficiency-workforce-optimization-initiative.pdf.

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 to eliminate their “[t]he non-statutory components and functions,” and to “reduce the performance

 of their statutory functions and associated personnel to the minimum presence and function

 required by law.” Id. § 2(a). Since then, the Administration has taken aggressive steps to shut

 down the Institute of Peace: it has fired all of the voting members of the Institute’s Board, replaced

 its president, and enlisted the aid of law enforcement to remove the Institute’s staffers from its

 headquarters.

         49.     The President has also undertaken aggressive efforts to abolish the Department of

 Education. On March 11, the Department of Education announced a nearly 50% cut to its

 workforce. 4 And on March 20, President Trump issued an executive order directing the Secretary

 to “facilitate the closure of the Department of Education and return authority over education to the

 States and local communities.” Exec. Order No. 14,242, “Improving Education Outcomes by

 Empowering Parents, States, and Communities,” § 2(a) (Mar. 20, 2025). The Plaintiff States have

 filed suit to challenge that closure. See New York v. McMahon, No. 1:25-cv-10601 (D. Mass.).

 II.     The Closure Order

         50.     On March 14, the President ordered the dismantling of seven more agencies. That

 day, he issued the Closure Order, formally entitled “Continuing the Reduction of the Federal

 Bureaucracy.” Exec. Order No. 14,238 (Mar. 14, 2025). In terms nearly identical to the order that

 led to the forcible takeover of the Institute of Peace, the order directs seven congressionally created

 agencies, including the Institute of Museum and Library Services, the Minority Business

 Development Agency, and the Federal Mediation and Conciliation Service, 5 to eliminate their non-



 4
  See White House, Fact Sheet: President Donald J. Trump Empowers Parents, States, and Communities to Improve
 Education Outcomes (March 20, 2025) available at: https://www.whitehouse.gov/fact-sheets/2025/03/fact-sheet-
 president-donald-j-trump-empowers-parents-states-and-communities-to-improve-education-outcomes/.



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 statutorily mandated functions “to the maximum extent consistent with applicable law,” and to

 “reduce the performance of their statutory functions and associated personnel to the minimum

 presence and function required by law.” Id. § 2(a).

         51.      The Closure Order provides that “[i]n reviewing budget requests submitted by” the

 entities, “the Director of the Office of Management and Budget . . . shall, to the extent consistent

 with applicable law and except insofar as necessary to effectuate an expected termination, reject

 funding requests . . . to the extent they are inconsistent with this order.” Id. § 2(c).

         52.      The Closure Order further requires the heads of these entities to submit “[w]ithin 7

 days . . . a report to the Director of the Office of Management and Budget confirming full

 compliance with this order and explaining which components or functions of the governmental

 entity, if any, are statutorily required and to what extent.” Id. § 2(b).

         53.      Within one day of the President’s signing of the Closure Order, Congress passed,

 and the President signed, a continuing resolution funding the government through September 30,

 2025. See Full-Year Continuing Appropriations and Extensions Act, 2025, Pub. L. No. 119-4

 (2025). That statute maintains funding for every agency subject to the Closure Order at the same

 level as they were funded in fiscal year 2024.

 III.    At Least Three of the Seven Agencies Subject to the Closure Order Have Already
         Been Gutted, Inflicting Severe Harm on the Plaintiff States.

         54.      In the two weeks since it was issued, the Closure Order has already resulted in the

 devastation of the Institute of Museum and Library Services, the Minority Business Development

 Agency, and the Federal Mediation and Conciliation Service. Each of these agencies was

 established by Congress, has a detailed list of statutory duties, and was appropriated funds by


 5
  The other agencies, which are not the subject of this lawsuit, are the Community Development Financial
 Institutions Fund, the United States Interagency Council on Homelessness, the United States Agency for Global
 Media, and the Woodrow Wilson International Center for Scholars.

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 Congress—often numbering in the hundreds of millions of dollars—as recently as March 15.

 Nonetheless, each of these agencies has made a final decision (the “Closure Decision”) to

 implement the Closure Order and to gut its operations.

         55.       These unlawful actions are inflicting immediate harm on the Plaintiff States, which

 rely on every one of these agencies to provide services of vital importance to the States and the

 public at large, including funding their libraries, enhancing government contracting, and mediating

 labor disputes.

         A.        Institute of Museum and Library Services

                   1.     Statutory Authority and Programs

         56.       The Institute of Museum and Library Services is the primary federal agency

 responsible for supporting the country’s museums and libraries through grantmaking, research,

 and policy development. 6 Although funding for IMLS only constitutes 0.0046% of the federal

 budget, IMLS provides critical resources to libraries and museums across the United States. 7

         57.       Congress established IMLS in the Museum and Library Services Act of 1996.

 Pub. L. 104-208, 110 Stat. 3009 (1996). It has reauthorized and extended the Institute three times

 since then—most recently in a law signed by President Donald J. Trump in 2018. See Museum

 and Library Services Act of 2018, Pub. L. 115-410, 132 Stat. 5412 (2018) (codified at 20 U.S.C.

 §§ 9101 et seq.). The current reauthorization of the Institute extends until September 30, 2025.

         58.       By statute, IMLS is required to have both an Office of Museum Services and an

 Office of Library Services. 20 U.S.C. § 9102. It is required to engage in regular research and

 data collection to “extend and improve the Nation’s museum, library, and information services.”


 6
   Institute of Museum and Library Services, FY 2022–2026 Strategic Plan, at 3,
 https://www.imls.gov/sites/default/files/2022-02/imls-strategic-plan-2022-2026.pdf
 7
   American Alliance of Museums, AAM Statement on the Placing of IMLS Staff on Administrative Leave (Mar. 31,
 2025), https://www.aam-us.org/2025/03/31/aam-statement-on-the-placing-of-imls-staff-on-administrative-leave/.

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 Id. § 9108. And it is charged with supporting museums and libraries across the States by

 disbursing and expending appropriated funds and providing other forms of assistance. Id. §§

 9121-9165 (libraries), 9171-9176 (museums).

         59.      IMLS’s largest funding program—and the largest source of federal funding for

 library services—is the Grants to States Program. 20 U.S.C. § 9133(a). Under this program,

 IMLS awards a formula grant directly to State library administrative agencies to advance eight

 enumerated purposes, including expanding library services and access; improving librarian

 training, professional development, and recruitment; and targeting library services to diverse

 communities. Id. § 9141(a)(1)-(8). To obtain the funds, States must submit five-year plans. Id.

 9134(a). After the plan has been approved, IMLS pays each State the Federal share of the

 activities in the plan, which is 66%. Id. § 9133(b). All 50 States and the District of Columbia

 receive these grants from the IMLS. 8 Upon information and belief, prior to the implementation

 of the Closure Order, the Grants to States program was administered by four program officers

 and one supervisor.

         60.      IMLS also administers a variety of competitive grant programs for libraries and

 museums. 9 Its competitive grant programs for libraries include the Native American and Native

 Hawaiian Library Services Grants, which are awarded to eligible communities to establish,

 sustain, and improve library services, 20 U.S.C. § 9161; the National Leadership Grants for

 Libraries Program, which support projects that strengthen, develop, or enhance library services,

 id. § 9162(a)(1)-(5); and the Laura Bush 21st Century Librarian Program grants, which support

 projects to recruit the next generation of librarians, including librarians from diverse and



 8
   Institute of Museum and Library Services, Grant Programs, https://www.imls.gov/find-funding/funding-
 opportunities/grant-programs (last visited Apr. 4, 2025).
 9
   Id.

                                                            16
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 underrepresented backgrounds, id. § 9165(a)(1)-(3). Its competitive grant programs for

 museums include Museums for America grants, which support individual museums’ abilities to

 serve the public through programs, exhibits, professional development, and collections

 management; 10 Native American/ Native Hawaiian Museum Service grants, which support

 Native tribes and organizations that primarily serve and represent Native groups by supporting a

 variety of projects, such as workforce development and community engagement; 11 National

 Leadership Grants for Museums to “support projects that address critical needs of the museum

 field;” 12 and the 21st Century Museum Professional Program grant, which supports projects to

 offer professional development and recruit future generations of museum professionals. 13

         61.      In addition to IMLS’s statutory obligations under the Museum and Library

 Services Act, IMLS has statutory obligations under other statutes, including the National

 Museum of the American Latino Act, 20 U.S.C. § 80u(f)(2), and the National Museum of African

 American History and Culture Act, 20 U.S.C. § 80r-5(b).

         62.      IMLS has also developed several initiatives to support libraries and museums. In

 2014, for example, IMLS launched Museums for All, a national access initiative under which

 visitors who receive Supplemental Nutrition Assistance Program benefits are eligible for deeply

 discounted or free admission to more than 1,400 museums throughout the United States. 14 In

 2024, IMLS launched InformationLiteracy.gov, a website designed for museum and library


 10
    Institute of Museum and Library Services, Museums for America, https://www.imls.gov/find-funding/funding-
 opportunities/grant-programs/museums-for-america (last visited Apr. 4, 2025).
 11
    Institute of Museum and Library Services, Native American/Native Hawaiian Museum Services,
 https://www.imls.gov/find-funding/funding-opportunities/grant-programs/native-american-native-hawaiian-
 museum-services (last visited Apr. 4, 2025).
 12
    Institute of Museum and Library Services, National Leadership Grants for Museums, https://www.imls.gov/find-
 funding/funding-opportunities/grant-programs/national-leadership-grants-for-museums (last visited Apr. 4, 2025).
 13
    Institute of Museum and Library Services, 21st Century Museum Professionals Program,
 https://www.imls.gov/find-funding/funding-opportunities/grant-programs/21st-century-museum-professionals-
 program (last visited Apr. 4, 2025).
 14
    Museums for All, About, https://museums4all.org/about/ (last visited Apr. 4, 2025).

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 professionals and community-based organizations to provide resources and training on a variety

 of information literacy subject areas.

         63.      In fiscal year 2024, IMLS distributed $180,000,000 to libraries across the United

 States via its Grants to States Program; $31,050,000 in other competitive library grant programs;

 and $55,450,000 to support museums across the United States. Of the remaining appropriations,

 the Institute spent $5,650,000 on research and evaluation and $22,650,000 on its

 administration. 15

         64.      Congress appropriated IMLS $294.8 million for Fiscal Year 2025. See Full-Year

 Continuing Appropriations and Extensions Act, 2025, Pub. L. No. 119-4, § 1101(a)(5); Further

 Consolidated Appropriations Act, 2024, Pub. L. No. 118-47 div. D (2024).

         65.      As of March 14, IMLS had a staff of approximately 77.

                  2.      Implementation of the Closure Order

         66.      On March 31, the Director of Human Resources for IMLS informed agency staff

 that the entirety of IMLS would be placed on leave and that all grants would be terminated, with

 the potential exception of the Grants to States program. The Director of Human Resources

 advised that staff should expect a reduction in force within 30 days or less.

         67.      On that same day, IMLS staff received the below letter, Exhibit A, by email

 formally placing all IMLS staff on paid administrative leave for 90 days and suspending IMLS

 email accounts.




 15
   Institute of Museum and Library Services, FY 2023 – FY 2025 Budget Appropriations Table (Mar. 2024),
 https://www.imls.gov/sites/default/files/2024-05/imls-budget-table-fy-2023-2025.pdf.

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        68.     The American Federation of Government Employees Local 3403, the union that

 represents IMLS staff, advised that without staff, “all work processing 2025 applications has




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 ended” and the “status of previously awarded grants is unclear . . . [but] [w]ithout staff to

 administer the programs, it is likely that most grants will be terminated.” 16

         69.      Upon information and belief, as of April 1, IMLS recalled a skeleton crew of

 approximately 12 staff members, including one deputy director for museums, one program

 officer for museums, one deputy director for libraries, and one program officer for libraries. The

 remaining staff members include lawyers, a chief financial officer, the head of human resources,

 and the Director.

         70.      Because the remainder of IMLS staff have been placed on administrative leave,

 IMLS is not capable of processing new grant applications or servicing existing grants, and it has

 begun terminating existing grants. On April 2, 2025, Washington’s State Librarian received

 notification from the Acting Director of IMLS, Keith Sonderling, that Washington State

 Library’s $3,948,629 “Grants to States” award had been terminated effective April 1, because it

 was “inconsistent with IMLS’ priorities” and the cancelation was “mandate[d]” by the

 President’s Executive Order. The State Libraries of California and Connecticut received similar

 notices on April 2, 2025, that California’s $15.7 million and Connecticut’s $2.1 million “Grants

 to States” awards were terminated. At the time of cancelation, there remained nearly $3.4 million

 promised under California’s award, and $984,000 under Connecticut’s award, that had not yet

 been disbursed.

         71.      On April 3, 2025, the President began dismantling the Board of the IMLS. For

 example, Annie Norman, the State Librarian of Delaware, received an email from the Deputy

 Director of Presidential Personnel terminating her Board membership, notwithstanding the fact

 that she had been reappointed to a new five-year term in December 2024.


 16
   Book Riot, The Institute for Museum and Library Services Was Just Gutted (Mar. 31, 2025),
 https://bookriot.com/imls-gutted/.

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                 3.       Harms to the Plaintiff States

         72.     All the Plaintiff States receive funding through the Grants to States Program and

 rely on this funding to support a number of vital library services and functions and to pay the

 salaries of state library staff.

         73.     On information and belief, the Plaintiff States rely on the Grants to States

 Program funding to pay the salaries of its state library employees who work to carry out the

 goals of the approved five-year library plans identified supra in paragraph 59. These funds pay

 the salaries either in part or in full of 12 full-time state library department employees and 12

 temporary employees in Arizona, 34 state library department employees s in California, 13 state

 library department employees in Connecticut, 20 state library department employees in New

 Jersey, 14 state library department employees in New Mexico, 55 state library department

 employees in New York, 12 state library department employees in Oregon, 6 state library

 department employees in Rhode Island, 16 state library department employees in Vermont, 32

 state library department employees in Washington, and 17 state library department employees in

 Wisconsin. Delaware uses federal funding to pay 50% of the salaries of state employees in

 addition to several contractual staff members, while Maryland uses IMLS funds to pay the full or

 partial salaries of 10 employees and 3 consultants. In Rhode Island, 45% of the budget of its

 Office of Library and Information Services (“OLIS”), including the equivalent of 6 full-time

 employees, was covered by IMLS’s Grants to States Program.

         74.     These state library employees are essential to the critical operations of the State

 Libraries and provide a wide variety of crucial services to thousands of libraries across the

 Plaintiff States, which benefit the millions of patrons who use these libraries annually. Such

 services include, but are not limited to, processing and administering state aid and subgrants to



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 libraries; providing technical assistance to libraries; providing consulting services on early

 literacy, digital equity, continuing education, reference services, and public library data to the

 libraries; developing training for library staff; preserving historical collections; digitizing

 collections; providing expert research assistance; and developing statewide library services.

         75.     In addition to paying the salaries of critical staff members, Plaintiff States also use

 these Grants to States program funds to support a wide variety of programs, including, but not

 limited to, developing and implementing reading and literacy programs for children, teens, and

 adults; providing braille and audio services to library patrons who are unable to utilize traditional

 print materials; providing access to the internet; providing access to library materials to those

 who are homebound or live in rural areas; and providing access to statewide resources such as

 databases, interlibrary loan software, digital library eBook and eAudio content, and online

 reference programs. Plaintiffs States also use this federal funding to provide resources to their

 communities related to job training, business development, and digital, financial, and health

 literacy.

         76.     The recently canceled grant in Washington was intended to support a number of

 programs, including literacy and reading, and lifelong learning programs; state-wide digital

 initiative programs; the Washington Talking Book and Braille Library and other accessible

 library and information resources; support for the incarcerated and hospitalized in their recovery,

 release, and re-entry. That grant was supposed to run until 2027, and the State Librarian received

 the grant termination notice on the same day that she submitted a drawdown request seeking

 reimbursement for approximately $1 million. The cancellation of the grant may cause the library

 to fail to meet its financial obligations.




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        77.     The California State Library’s recently cancelled grant made possible, among

 other things, support for tutors helping adults and children read, write, and learn English and

 efforts to ensure that summer reading and activity programs, including those that feed hungry,

 underserved kids, are available to its residents. IMLS funds also pay for the salaries of 34 State

 Library employees of whom 20 provide services to 800,000 blind, visually impaired, or dyslexic

 residents. Without the funding support of IMLS, those programs are likely to end, and layoffs

 would ensue.

        78.     In Rhode Island, the Office of Library and Information Services (“OLIS”)

 allocates IMLS Grants to States Program funding to individual libraries and library-serving

 organizations through subgrants. The IMLS grant, allocated through OLIS, funds, among other

 things, 42 of Rhode Island’s public libraries for their summer reading programs, projects such as

 digitization of historic copies of local newspapers, services for veterans and differently abled

 individuals, social services, learning programs, and collection development. The Grants to States

 Program supports many Rhode Island initiatives, including but not limited to: A Resource

 Sharing Program to facilitate efficient statewide sharing of materials among public, academic,

 school and other libraries, and achieves savings for municipalities and academic institutions

 while expanding access to educational, informational, and recreational reading materials for all

 Rhode Islanders; The Talking Books Library, Rhode Island’s Regional Library for the Blind and

 Print Disabled, providing access to public library services for state residents who are unable to

 use traditional print materials due to visual or print disability; A Digitization, Preservation and

 Disaster Preparedness Program to provide tools and resources to assist with disaster

 preparedness; and A Reading and Literacy Program to coordinate reading programs for children,

 teens and adults at public and school libraries statewide; and partnerships with organizations to



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 promote, support or develop statewide programs focused on early literacy, grade level reading,

 and statewide reading. In 2024, Rhode Island received a total of $1,413,623 through the Grants

 to States Program. Rhode Island does not have the budgetary resources or flexibility to make up

 for the lost funding, and these services will suffer without it.

        79.     Massachusetts received $3,642,371 from IMLS in Fiscal Year 2024. The

 Massachusetts Board of Library Commissioners has used these federal funds to support many of

 its programs, including: statewide electronic research databases that are used most by school

 libraries; the only statewide E Book platform; direct grant program to public, school, and

 academic libraries; a statewide interlibrary loan platform (ComCat); statewide collection

 preservation and disaster response programs; and statewide librarian training programs. The

 pauses and termination of federal funding and federal support would result in cancellation of

 essential services used by approximately 1,200 school and public libraries across Massachusetts.

        80.     Plaintiff States also apply to IMLS for competitive grants that are used to support

 a variety of library programs across the Plaintiff States. For example, the Connecticut State

 Library was recently awarded a $249,948 grant from the National Leadership Grants program to

 collaborate with eight public libraries to design and implement a model for regional sharing of

 digital navigation services to underserved residents. In 2023, a $748,588 National Leadership

 Grant was awarded to the New Jersey State Library to allow it to partner with the New Jersey

 State Department of Education and others to develop professional development, an instructional

 framework, and learning activities to support New Jersey’s upcoming implementation of

 information literacy standards. Recently, Washington received a National Leadership Grant for

 $149,668 for a multi-year project in collaboration with the Washington State Department of

 Corrections to develop strategies and tools to address disparities in library services for the



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 incarcerated to develop best practices, performance standards, and adaptable models for other

 States. And since 1998, Hawai’i library and museum organizations have received nearly $18

 million in grants from IMLS to support projects that collect, digitize, and make available

 important Native Hawaiian collections.

        81.     Plaintiff States also apply to IMLS for competitive grants to support museums by

 hiring project-related employees, developing educational programs, developing new exhibits,

 and improving existing exhibits. Museums in Plaintiff States have been awarded grants and are

 relying on the fulfilment of those grants to complete specific projects ranging from developing

 new exhibits to improving the accessibility of existing exhibits. Any pause or cancellation in

 federal funding will delay the completion of these projects to the detriment of the museum and

 its visitors. For example, the University of Wisconsin-Stevens Point’s Natural History Museum

 was recently awarded a grant from the IMLS’s Inspire! Grants for Small Museums program,

 which it intends to use to fund staffing, design, and purchase of improvements to make its

 collection accessible to visitors with physical limitations and visual impairments. If the museum

 does not receive disbursements and reimbursements under this grant, 50% of the museum’s

 collection will remain inaccessible to visitors with physical limitations and visual impairments.

        82.     In addition to federal funding, Plaintiff States also rely on IMLS for its leadership,

 programs, and data collection services. For example, IMLS’s Office of Research and Evaluation

 conducts ongoing research and collects and disseminates data annually to the public to improve

 the nation’s museum, library, and information services. The consistent data reports about public

 libraries, such as the Public Library Survey, are used by the Plaintiff States to better understand

 the status of their public libraries and provide guidance on enacting best practices, to ensure local

 funding and support, and to inform legislators and stakeholders about the impact of library



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 services. In Rhode Island, for example, IMLS supports the State’s libraries by providing

 guidance with its National Strategic Plan, input into the formation of Rhode Island’s Five-Year

 State Plan, regular conferences and peer-to-peer meetings on library development, data collection

 and analyses, and various other trends in library science. On March 31, 2025, the same day that

 IMLS placed all staff on Administrative Leave, it informed Rhode Island’s OLIS that IMLS staff

 would no longer be available to assist with the grant programs or other services. See Exhibit B.

         83.     Upon information and belief, none of the 12 employees who will be brought back

 from administrative leave works in the Office of Research and Evaluation. As a result, this

 office will effectively no longer exist at the agency. This indicates that the Public Library Survey

 will cease to be issued. Additional program evaluations and data collection will also cease.

         84.     Without this data and guidance, Plaintiff States will lack information needed for

 future program development and be forced to reduce the scope of consulting services provided to

 public libraries across their States.

         85.     The severe reduction in staff at IMLS will prevent it from meeting its statutory

 obligations, both in library services and museum services. Without a fully staffed IMLS, it is

 inevitable that funds the States are entitled to receive will be delayed, if they are processed at all.

 States will be unable to obtain counsel from IMLS staff to ensure that they are spending the grant

 money in ways authorized by the statute. IMLS will also be unable to process thousands of

 applications for competitive grant programs mandated by statute.

         86.     The disruption of grant funding will result in severe diminution of library and

 museum services. States will be required to furlough or terminate local librarians and museum

 staff, curtail or shutter programs for training and recruitment of new staff, and cut back or eliminate

 critical services, such as literacy programs, investment in new technologies, public access to the



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 internet, and technical assistance. Local libraries relying on the State Library for support will

 experience financial pressure and reduced guidance, leading to a cutback in local services and

 access to physical and digital library materials. The disruption of grant funding will also hamper

 the States’ ability to digitize and preserve records, impeding research and academic efforts while

 also eroding cultural and historical identity. Further, States may be forced to pause or cancel

 existing contracts for essential technology and software, as well as ongoing initiatives.

         B.       Minority Business Development Agency

                  1.      Statutory Authority and Programs

         87.      The Minority Business Development Agency is an agency within the Department

 of Commerce whose purpose is “to promote the growth, global competitiveness, and the

 inclusion of minority-owned businesses through data, research, evaluation, partnership programs,

 and federal financial assistance programs.” 17

         88.      Initially created in 1969 by Executive Order 11,458 (Mar. 7, 1969), the MBDA

 was authorized by statute in 2021. 18 See Minority Business Development Act of 2021,

 Infrastructure Investment and Jobs Act, Pub. L. 117-58, div. K (Nov. 15, 2021) (MBD Act),

 codified at 15 U.S.C. § 9501 et seq. By law, the Under Secretary of Commerce for Minority

 Business Development heads the MBDA. 15 U.S.C. § 9502(b)(1).

         89.      MBDA’s principal statutory responsibility is to provide financial support to

 MBDA Business Centers—public-private partnerships that help minority business enterprises

 access capital and contracting opportunities, provide counseling and technical assistance to

 minority business enterprises, and otherwise facilitate the growth of such enterprises. 15 U.S.C.


 17
    U.S. Dep’t of Commerce, MBDA, Fiscal Year 2025 Congressional Justification 16 (2024),
 https://www.commerce.gov/sites/default/files/2024-03/MBDA-FY2025-Congressional-Budget-Submission.pdf.
 18
    See Cong. Rsch. Serv., R46816, The Minority Business Development Agency: An Overview of Its History and
 Programs 5 (2024), https://www.congress.gov/crs-product/R46816.

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 §§ 9522, 9523(a)(1)–(3); see id. § 9524(a)(1)(A). The MBDA Office of Business Center is

 administered by a Director, id. § 9502(d)(2), and is required to have “a regional office . . . . for

 each of the regions of the United States,” id. § 9502(e)(2)(A).

         90.     As of 2024, MBDA funded 41 MBDA Business Centers in 34 States and

 territories. 19 MBDA Business Centers are essentially business consultancies that support the

 growth of Minority Business Enterprises (“MBEs”) by offering analytics, networking

 opportunities, and trainings.

         91.     MBDA also funds a number of specialty centers. As of 2024, it funded 21 MBDA

 Rural Business Centers, which focus on assisting minority business enterprises in rural areas;

 four MBDA Advanced Manufacturing Centers, which aim to help manufacturers of domestic

 products; four MBDA Export Centers, which are dedicated to expanding access to global

 markets; and a Federal Procurement Center, which is designed to increase federal procurement

 and acquisition opportunities for minority business enterprises. 20

         92.     The MBD Act also authorizes the Under Secretary to establish a number of other

 programs. She “shall, whenever the Under Secretary determines such action is necessary or

 appropriate,” (1) provide financial assistance directly or indirectly to minority business

 enterprises, (2) establish programs to encourage minority business enterprises to establish joint

 ventures and projects, and (3) engage in joint efforts with private and public sector entities to

 advance the growth of minority business enterprises. 15 U.S.C. §§ 9511(1)–(3), 9523(a)(1)–(3).

 Using this authority, MBDA has established several projects and programs to assist minority

 business enterprises. In 2024, these projects supported entrepreneurship education for formerly


 19
    U.S. Dep’t of Commerce, MBDA, Fiscal Year 2025 Congressional Justification 18–19 (2024),
 https://www.commerce.gov/sites/default/files/2024-03/MBDA-FY2025-Congressional-Budget-Submission.pdf.
 20
    U.S. Dep’t of Commerce, MBDA, Fiscal Year 2025 Congressional Justification 16–19 (2024),
 https://www.commerce.gov/sites/default/files/2024-03/MBDA-FY2025-Congressional-Budget-Submission.pdf.

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 incarcerated persons, programs at minority colleges and universities, and American Indian,

 Alaska Native, and Native Hawaiian MBEs. 21 Likewise, the MBDA’s Capital Readiness Program

 has supported and continues to support incubator programs like the Rhode Island Small Business

 HUB, a federal- and State-funded nonprofit that provides workshops, counseling, and

 networking opportunities to entrepreneurs as they scale their ideas in the marketplace.

         93.     In addition to providing financial assistance, the MBDA is required to collect and

 analyze data relating to minority business enterprises, 15 U.S.C. § 9513(a)(1)(A), to conduct

 economic research, studies, and surveys, id. § 9513(a)(1)(B)(i), and to provide outreach,

 educational services, and technical assistance in at least 5 languages, id. § 9513(a)(1)(C).

         94.     In Fiscal Year 2023, the MBDA reported that its projects and programs served

 more than 2,000 MBE clients, produced more than $5.4 billion in economic benefit to MBEs,

 and contributed to MBEs creating nearly 19,000 jobs. 22

         95.     President Trump has repeatedly attempted to eliminate or gut the MBDA. For

 fiscal year 2018, President Trump proposed to eliminate the MBDA and requested a $6 million

 budget “to be used to close out the agency.” 23 The first Trump Administration’s Fiscal Year

 2019, 2020, and 2021 budget requests all proposed to reduce the MBDA’s budget to

 approximately $10 million. 24 Congress declined these requests and appropriated $39 million, $40

 million, $52 million, and $70 million, respectively, in each of these years. 25




 21
    Id. at 20-21.
 22
    U.S. Dep’t of Commerce, MBDA, Fiscal Year 2025 Congressional Justification 8, 57, 59 (2024),
 https://www.commerce.gov/sites/default/files/2024-03/MBDA-FY2025-Congressional-Budget-Submission.pdf.
 23
    See Cong. Rsch. Serv., R46816, The Minority Business Development Agency: An Overview of Its History and
 Programs 31 (2024), https://www.congress.gov/crs-product/R46816.
 24
    See Cong. Rsch. Serv., R46816, The Minority Business Development Agency: An Overview of Its History and
 Programs 31, 33 (2024), https://www.congress.gov/crs-product/R46816.
 25
    See Cong. Rsch. Serv., R46816, The Minority Business Development Agency: An Overview of Its History and
 Programs 31, 33 (2024), https://www.congress.gov/crs-product/R46816.

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         96.     For Fiscal Year 2025, Congress passed—and President Trump signed—an act

 appropriating $68,250,000 to the MBDA. See Continuing Appropriations Act § 1101(a)(2);

 Further Consolidated Appropriations Act, 2024, Pub. L. No. 118-47, div. C, 138 Stat. 25, 123

 (2024). As of March 14, the MBDA employed approximately 49 full-time personnel. 26

                 2.      Implementation of the Closure Order

         97.     Since the Closure Order was issued, MBDA placed all but three of its employees

 on paid administrative leave. Subsequently two additional employees began working at the

 agency. The only exceptions were the Deputy Under Secretary of Commerce for Minority

 Business Development; the Chief Operating Officer; the Chief of the Office of Legislative,

 Education, and Intergovernmental Affairs; a senior advisor; and a budget analyst.

         98.     On March 21, 2025, the union representing MDBA employees received a

 notification from the Deputy Under Secretary, stating that “[i]n accordance with the March 13,

 2025, Executive Order, ‘Continuing the Reduction of the Federal Bureaucracy,’ . . . the Department

 of Commerce will be implementing a Reduction in Force (RIF) of the Minority Business

 Development Agency (MBDA).” Exhibit C. The RIF Notification indicated that “[a]ffected

 MBDA employees will be placed in a paid non-duty status today.” Id.

         99.     According to a current MBDA employee, “this RIF will likely result in the

 termination of all General Schedule (GS)-level employees at the MBDA”—i.e., all but three of

 those currently on leave—“within 30 days of the notice.”

         100.    In addition to terminating nearly all of its employees—including those responsible

 for maintaining the agency’s statutorily-mandated information clearinghouse, see 15 U.S.C. §

 9513—the MBDA has allowed contracts to lapse or terminated them for convenience; it has ceased


 26
   U.S. Dep’t of Commerce, MBDA, Fiscal Year 2025 Congressional Justification 46 (2024),
 https://www.commerce.gov/sites/default/files/2024-03/MBDA-FY2025-Congressional-Budget-Submission.pdf.

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 sharing information with stakeholders and accepting speaking engagements; and it has eliminated

 its Minority Business Center Advisory Council and declined to schedule its annual Forum on

 Capital Formation.

        101.    The MBDA also has allowed its contract with the data storage and customer

 relationship management platform Salesforce to expire, thereby losing access to a wide suite of

 analytical tools for sales, customer service, marketing automation, e-commerce, analytics, artificial

 intelligence, and application development.

                3.      Harms to the Plaintiff States

        102.    Plaintiff States will be directly and irreparably harmed by the MBDA’s termination

 of its discretionary functions and the reduction of its active staff to five employees.

        103.    Several MBDA Business Centers are operated by Plaintiff States’ instrumentalities

 (i.e., agencies, universities, or local governments). These include centers operated by New Mexico

 State University, the University of Connecticut, the University of Hawai‘i, and the cities of

 Baltimore and Albuquerque. The centers’ statutory mission will be fatally undermined by the

 Closure Order’s directive to “reduce the performance of [the MBDA’s] statutory functions and

 associated personnel to the minimum presence and function required by law.” Exec. Order No.

 14,238, § 2; cf. 15 U.S.C. §§ 9522–9524.

        104.    For example, the University of Hawai‘i operates the MBDA Business Center

 Hawai‘i under an agreement with the MBDA. Through training, technical assistance, and

 networking opportunities, the MBDA Business Center Hawai‘i helps local businesses secure

 commercial lending or financing and enter contracts for facilitates, goods, and services. Those

 services are especially important to Hawai‘i due to its geographic and economic isolation from the

 rest of the United States and its unique Pacific culture.



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        105.    The MBDA Business Center Hawai‘i relies on the MBDA for funding and for

 access to the Salesforce platform. Any loss of funding would prevent the Center from continuing

 to support clients’ projects and force it to default on a contract with the Hawai‘i YWCA to provide

 services to other small Hawai‘i businesses.

        106.    For the next fiscal year, the MBDA Business Center Hawai‘i is scheduled to receive

 disbursements/reimbursements of $410,000 under its current awards.           That grant must be

 renewed—along with all other MBDA Business Center grants—by June 30, which cannot feasibly

 be done by the MBDA’s skeleton crew of five staff.

        107.    Under an agreement with the MBDA, the Mayor and City Council of Baltimore,

 Maryland operate the Baltimore MBDA Advanced Manufacturing Center through the Baltimore

 City Mayor’s Office of Small & Minority Business & Advocacy (MOSMBA&D). The Baltimore

 MBDA Advanced Manufacturing Center offers targeted assistance to manufacturers—such as

 identification of immediate and long-term business needs; access to financing, contracts and other

 sales opportunities; specialized consulting and training; and business and industry advocacy—to

 increase the number of “Made in America” products that can be sold domestically and globally.

 The Baltimore MBDA Advanced Manufacturing Center is one of only four in the country and fills

 a void by providing services targeted at small local manufacturers.

        108.    The Baltimore MBDA Advanced Manufacturing Center is funded solely by a

 $400,000 annual grant from the MBDA, which MOSMBA&D received in 2021 to operate the

 Center through June 30, 2026 (for a total of $2,000,000). MOSMBA&D intended to apply for a

 renewed grant to continue to operate the Advanced Manufacturing Center beyond June 30, 2026.

 Loss of funding as a result of the MBDA’s effective elimination will force the Advanced

 Manufacturing Center to suspend operations and prevent it from supporting local manufacturers



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 in Maryland and the Mid-Atlantic region. Maryland manufacturers cannot feasibly turn to other

 Advanced Manufacturing Centers for support because the nearest ones are hundreds of miles away

 in Kentucky and Connecticut.

        109.    Already, MOSMBA&D has lost access that MBDA provided to the Salesforce

 platform, which the Baltimore MBDA Advanced Manufacturing Center used to document client

 interactions. Without access to Salesforce, MOSMBA&D cannot complete the Cumulative Goals

 Reports through which the Advanced Manufacturing Center was instructed to document its work.

 In addition, the MBDA program analyst to whom MOSMBA&D previously could turn appears to

 have been placed on leave and is no longer available to answer questions or provide support.

        110.    Many of Plaintiff States’ agencies, instrumentalities, and local governments also

 have received funding through the MBDA’s pilot projects and programs, including the University

 of Wisconsin, the University of Hawai’i, and Morgan State University in Maryland. The Executive

 Order’s directive to “eliminate[ ]” the MBDA’s “non-statutory components and functions”

 threatens to halt the continuation or renewal of the Agency’s pilot projects and programs, directly

 and irreparable harming Plaintiff States’ instrumentalities that receive the funds. See Exec. Order

 No. 14,238, § 2.

        111.    For example, in 2023, the University of Wisconsin System’s Office of Business &

 Entrepreneurship (OBE) received a $3,000,000 grant for an MBDA Capital Readiness Program

 entitled “Advancing Capital Readiness Among Women-Owned Businesses Through Integrated

 Curriculum, Community and Connections.” This project supports women’s leadership training

 and personal finance development by developing comprehensive, customized financial literacy

 curriculum for early-stage, growth state, food/farm/agriculture and technology cohort accelerators,

 as well as by offering personal finance reviews, business planning information, and tools for



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 entrepreneurs to use between sessions; online and on-demand webinars and podcasts on key

 business topics; and one-on-one consultations. MBDA funding will last through 2027 and has

 enabled OBE to cover the costs of research, cohort development, subject matter experts, student

 employees, ten-week accelerator programs in Early, Growth, Technology, and Food/Agriculture

 pathways, webinar and podcast production costs, Small Business Clinic costs, marketing efforts,

 data collection, compliance, and management expenses.

        112.    In the next month, OBE is scheduled to receive reimbursements of $45,913.07

 under its MBDA grant. OBE has $117,706.23 in planned encumbrances on this award and has a

 $2,305,705.85 balance available for draw on the award as of March 31, 2025. All funds available

 on this award already have been allocated and will be spent by August 31, 2027.

        113.    OBE’s next disbursement request will be transmitted to MBDA by April 15, 2025,

 and OBE expects payment by April 30, 2025, to compensate for services already provided. If OBE

 does not receive the disbursement as scheduled, then it will not be able to pay students or

 independent contractors working with small businesses on their financial projections, financial

 health and business plans; pay subject matter experts to consult with companies enrolled in the

 accelerators; or pay staff assigned to activities allocable to the project, such as the creation of

 online content, business clinic operations, and communications.

        114.    In 2021, the University of Hawai’i Maui College received a $902,133.00 MBDA

 PĀʻOIHANA Grant to provide curriculum development and new entrepreneurship training

 programs, as well as business start-up coaching and mentoring. This program has infused $1

 million in business revenue into Maui’s economy by supporting the creation of 27 new companies

 and 54 jobs.




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        115.    In the next eight months, the University of Hawai’i Maui College is scheduled to

 receive disbursements/reimbursements of $549,005.47 under the current MBDA award. The next

 expected reimbursement billing is April 28, 2025.         If MBDA’s handful of remaining staff are

 unable to provide the funds on time, then the university will be forced to lay off three grant program

 staff and terminate training courses, coaching, and mentoring support services.

        116.    In 2021, the University of Hawai’i received a $2,050,000 award to provide

 technical assistance and business development services to businesses in Hawai’i, and it was

 promised to receive $410,000 in the next fiscal year. Without that funding, the Hawai’i MBDA

 Business Center will default on its contract with the Hawai’i YWCA to provide critical business

 services to the YWCA, which in turn serves many Hawai’i small businesses.

        117.    The Entrepreneurial Development and Assistance Center (EDAC) at Morgan State

 University, a public historically Black research university in Maryland, has received a $300,000

 annual grant from the MBDA for each of the past four years to support entrepreneurship education

 for formerly incarcerated individuals through the RIDE (Returning Citizens Inspired to Develop

 Entrepreneurial Ventures) program. The RIDE program depends upon these MBDA funds, which

 are crucial for expanding EDAC’s efforts to provide tailored entrepreneurship education, one-on-

 one business guidance, and support for marginalized communities.

        118.    EDAC is still owed $109,000 under its existing grant awards and has been unable

 to draw down funds for those awards since March 29, 2025, after the vast majority of MBDA staff

 were placed on administrative leave.

        119.    If EDAC’s MBDA funding is not promptly restored, then it will need to halt

 essential programs such as entrepreneurship education, one-on-one business guidance, and access

 to resources such as the content library for continued learning. And the uncertainty of not getting



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 paid or reimbursed already has had a chilling effect upon EDAC, eroding confidence among

 program participants and partners and limiting EDAC’s ability to foster economic development

 and entrepreneurship within underserved communities.

         120.    Upon information and belief, and in the opinion of current MBDA employees, the

 five remaining staff members at MBDA will not be able to timely process grants, provide technical

 advice, or support capital development at the MBDA Business Centers as the MBD Act requires,

 directly and irreparably harming Plaintiff States’ instrumentalities that operate those centers and

 receive those grants.

         C.      Federal Mediation and Conciliation Service

                 1.       Statutory Authority and Programs

         121.    The Federal Mediation and Conciliation Service is the federal agency responsible

 for “assisting parties to labor disputes in industries affecting commerce to settle such disputes

 through conciliation and mediation.” 27 29 U.S.C. § 173(a).

         122.    Congress established FMCS in the Taft-Hartley Act of 1947. See Labor

 Management Relations Act, 1947, Pub. L. No. 80-101, § 202.

         123.    By statute, FMCS is required to perform several functions related to the resolution

 of labor disputes. It provides labor mediation and conciliation services “to assist parties to labor

 disputes affecting commerce to settle such disputes.” 29 U.S.C. § 173(a)–(c). It conducts

 grievance mediations “as a last resort in exceptional cases” to resolve grievance disputes arising

 out of the application or interpretation of an existing collective-bargaining agreement.” 29

 U.S.C. § 173(d). And it “encourage[s] and support[s] the establishment of joint labor




 27
   FMCS, “Fast Facts about the Agency” (updated Jan. 2024), https://www.fmcs.gov/wp-
 content/uploads/2024/02/FMCS-Fast-Facts-FY23-update-Jan-2024.pdf.

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 management activities.” 29 U.S.C. § 173(e). FMCS provides mediation services at no cost to

 the recipients. 28

         124.    FMCS also provides a variety of other services to promote the peaceful resolution

 of labor disputes. It appoints arbitration panels and arbitrators; conducts skills development and

 conflict resolution training; and verifies signed union authorization cards when employers agree

 to use that method to recognize a union. Upon information and belief, FMCS generally provides

 its educational and training services at no cost to the recipients, and it provides its arbitration

 panels and arbitrators to the parties at a below-market cost.

         125.    FMCS is headquartered in the District of Columbia and has nine field offices and

 dozens of home offices located throughout the nation. In fiscal year 2024, FMCS mediated

 2,318 collective-bargaining negotiations, 1,362 high-impact grievance mediations, and 792

 alternative-dispute resolution cases; conducted 1,477 single or multi-day training and

 intervention panels; provided 10,004 arbitration panels; and appointed 4,350 arbitrators. 29

         126.    Congress appropriated FMCS $53,705,000 for Fiscal Year 2025. Continuing

 Appropriations Act § 1101(a)(5); Further Consolidated Appropriations Act, 2024, Pub. L. No.

 118-47, div. B, 138 Stat. 460, 697 (2024).

         127.    Upon information and belief, prior to March 14, FMCS had approximately 200

 full-time employees, including approximately 140 field mediators. 30

                 2.      Implementation of the Closure Order




 28
    Federal Mediation & Conciliation Service, FAQs, https://www.fmcs.gov/resources/faqs/#cbm-faqs.
 29
     FMCS, Role & Function of the Federal Mediation & Conciliation Service (Jan. 14, 2025),
 https://www.fmcs.gov/wp-content/uploads/2025/03/Role-Function-of-the-FMCS-FY24-Update-Jan-14-2025.pdf.
 30
    Id.

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        128.    Upon information and belief, on March 18, 2025, FMCS’s Deputy Director of

 Field Operations Javier Ramirez issued a memorandum to “Field Operations and HQ” in

 response to the Closure Order. Exhibit D.

        129.    In the memorandum, the Deputy Director provided a list of “Operational

 Adjustments” that were “Effective Immediately.”

        130.    Among the adjustments was a freeze on services to the “Public Sector.” The

 memorandum states that FMCS would accept “[n]o new public sector cases . . . to include CBM

 [Collective Bargaining Mediation] work,” that “all Public Sector RDT [Relationship

 Development and Training] cases should be complete” as of March 14, and that “[a]ll Public

 Sector work, including CMBs, must be completed by April 18, 2025.”

        131.    Further, the memorandum provided that no new grievance mediation cases would

 be accepted, and that “[a]s of March 14 all GM [grievance mediation] cases should be

 complete.” It provided that no new in-person Education, Advocacy and Outreach meetings

 should be scheduled. And it provided that as of March 14, 2025, all card checks cases should be

 complete, and no new card checks would be accepted after that date.

        132.    This memorandum has resulted in the immediate cessation of all FMCS assistance

 in the mediation of labor management disputes in the public sector and the immediate cessation

 of all FMCS assistance in grievance mediation in the public sector.

        133.    One day after eliminating its public sector programs, FMCS issued a news

 release, stating: “FMCS is not a drain on taxpayer dollars as the article would suggest. In fact,

 our operations are managed on a $55 million budget (representing less than 0.0014% of the

 federal budget) yet we generate an impressive return on investment exceeding $500 million

 annually for the US economy. This remarkable economic impact underscores FMCS’s role as a



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 sound investment that drives substantial growth and innovation by fostering stable labor-

 relations, minimizing or preventing work stoppages, and keeping Americans working.” 31

           134.   On March 26, 2026, FMCS informed its staff that nearly all employees would be

 placed on administrative leave, effective the following day. 32 Only approximately 10-15

 employees, all located in the agency’s DC headquarters, were permitted to continue working.

 Because the agency has only a “skeleton crew,” one employee has explained that “[n]early all of

 the services [FMCS had] provided—mediation for collective bargaining, grievances,

 employment disputes, EEOC complaints, and trainings with both unions and management to

 promote labor peace—are no longer going to be provided.” 33 Some unions were told that FMCS

 “is basically being shut down.” The agency has initiated a RIF to terminate all but 15 of the

 employees remaining at the agency.

                  3.      Harms to the Plaintiff States

           135.   The Administration’s gutting of FMCS, and its termination of all public sector

 mediation and conciliation services, is already inflicting immediate and irreparable harms on the

 States.

           136.   Several Plaintiff States have laws that either require or strongly encourage that a

 mediator or arbitrator in public labor disputes come from FMCS. For instance, in New Mexico,

 in public employee impasse resolution, a mediator from FMCS is required to be assigned to

 assist in negotiations (absent agreement of the parties) and, if the impasse persists, either party

 may request a list of seven arbitrators from FMCS. N.M. Stat. § 10-7E-18. In Illinois, public



 31
    FMCS, Press Release, FMCS Condemns Overtly Misleading Online Article (Mar. 19, 2025),
 https://www.prnewswire.com/news-releases/fmcs-condemns-overtly-misleading-online-article-302406542.html.
 32
   See Fed. News Network, Federal labor mediation agency cuts staff down to ‘skeleton crew’ (Mar. 26, 2025),
 https://federalnewsnetwork.com/workforce/2025/03/federal-labor-mediation-agency-cuts-staff-down-to-skeleton-
 crew/
 33
    Id.

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 employees can only strike if a mediator has been requested; if either party requests the use of

 FMCS, the other party shall join, or otherwise bear the additional cost of mediation services. 5

 Ill. Consol. Stat. § 315/17(a). Maryland requires that FMCS mediators be used to resolve labor

 disputes in public libraries. See Md. Code, Educ. § 23-907.

        137.    Some Plaintiff States have collective bargaining agreements that specifically call

 for a mediator or arbitrator from FMCS to be used. In all, there are approximately 1,900

 American Federation of State, County, and Municipal Employees (“AFSCME”) collective

 bargaining and other contracts at all levels of government, in forty-two states and the District of

 Columbia that either allow for or mandate using the FMCS in labor relations. In Maryland, for

 instance, the State’s Department of Public Safety and Corrections, which has a unionized staff of

 over 8,500 employees, has collective bargaining agreements with four unions that provide for the

 use of FMCS for neutral fact-finding on appeal from a decision by the Secretary of Budget and

 Management or their designee. New Mexico also uses FMCS mediation services (for free or at

 reduced cost) for labor disputes in its State and local government sectors.

        138.    Maryland also has a memorandum of understanding with the AFSCME that

 allows either party to request a mediator from FMCS when the union or the employer cannot

 come to an agreement on a mandatory subject of bargaining. Under the terms of this agreement,

 complaints concerning alleged violations of the terms of the agreement can be heard by a fact

 finder provided by FMCS, with costs to be shared equally by the parties.

        139.    Many AFSCME agreements with state employees provide for the use of FMCS

 arbitrators or fact finders to serve as impartial decision makers and/or mediators in disputes over

 the meaning of terms in an agreement or in employee discipline cases. AFSCME relies on

 FMCS to help facilitate the negotiation of collective bargaining and other labor-management



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 agreements, and in the handling of grievances concerning state employees, in Rhode Island,

 California, Delaware, the District of Columbia, Illinois, Maryland, Michigan, Nevada, New

 Mexico, and New York.

        140.    Many Plaintiff States rely on and benefit from FMCS’s services, including

 mediation, arbitration, and training services. Most non-federal public sector CBAs in New

 Mexico expressly incorporate FMCS arbitration services by name, and curtailing those services

 is very likely to escalate labor State and local government labor disputes. The same is true in

 Rhode Island, where thousands of students rely on unionized school bus drivers to get an

 education, and local governments have successfully negotiated contracts—and avoided strike—

 through FMCS mediation. In Illinois, AFSCME depends upon FMCS to mediate contract

 negotiations for the approximately 38,000 AFSCME represented state employees there, to avoid

 labor disruption including the potential for strikes. For example, in 2021, FMCS mediated a

 dispute between AFSCME and Eastern Illinois University, a public state university, after over a

 year of bargaining. Similarly, FMCS’s services are critical for resolving labor disputes in

 Maryland, because the availability of qualified neutrals that are trusted by both the State and its

 union partners is essential for reducing litigation costs and delays by promoting confidence in the

 decision-makers and the dispute resolution process.” For instance, FMCS has provided services

 to the State’s Department of Public Safety and Corrections—at “minimal cost” to the state—that

 assisted in resolving critical and high-profile matters, such as a major dispute dealing with

 overtime and drafting policies. And in Rhode Island, FMCS helped resolve a grievance between

 the Department of Children, Youth and Families and one of their unions in Fall 2024. Had the

 dispute continued, the State faced a serious disruption to critical child protection services.




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         141.    The use of FMCS appointed mediators has helped to resolve disputes that

 otherwise may have escalated and caused both the union and the state to expend greater

 resources in both time and money to resolve the dispute. Mediation frequently is less costly and

 takes significantly less time to resolve disputes in contrast to labor disruptions, administrative

 hearings, or other litigation.

         142.    Because FMCS has dramatically reduced its personnel and has ceased all public

 sector services, State agencies that previously relied on FMCS must now find and utilize other

 more costly and time intensive methods to resolve disputes with public sector unions. In New

 Mexico, its Public Employee Labor Relations Board (NM-PELRB) has only two staff members

 and a small budget. Because of New Mexico’s statutory requirements related to use of FMCS

 mediation and/or arbitration services in non-federal public sector labor disputes, a potentially

 large number of contract disputes may overwhelm the agency. Additionally, labor disputes are

 more likely to result in work disruptions when the path to otherwise mediating the dispute has

 been eliminated.

         143.    In the absence of FMCS, for instance, the Maryland Department of Public Safety

 and Corrections needs to resolve labor disputes by either relying on its early overstretched State

 Labor Relations Board, hiring costly arbitrators, or risking litigation that could result in a major

 judgment against the State. Any of these alternatives will increase costs, delay, or the risk of an

 unfavorable outcome. In fact, in New Mexico, the resolution of at least eight pending public

 sector labor disputes has currently been, and will continue to be, significantly delayed by the

 discontinuation of FMCS services. And in Rhode Island, much of the healthcare system relies on

 FMCS mediations, which have averted costly strikes at Rhode Island Hospital, the State’s only

 Level-1 Trauma Center, and other critical medical facilities operating on razor-thin margins.



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 State stakeholders in labor relations also rely on FMCS training and educational opportunities to

 increase their own capacity. Losing these services will place additional financial and logistical

 burdens on State agencies. In Minnesota and Illinois, ongoing labor negotiations have been

 abruptly canceled due to FMCS’s closure. Without FCMS assistance in ongoing negotiations,

 parties will need to use much more costly private arbitrators, or risk strikes or other work

 stoppages.

         IV.    The Office of Management and Budget’s Role

         144.   To ensure its implementation, the Closure Order directs the Office of

 Management and Budget (OMB) and its Director, Russell Vought, to “reject funding requests” by

 the IMLS, the MBDA, or the FMCS “to the extent they are inconsistent with this order.” Exec.

 Order No. 14,238 § 2(c).

         145.   OMB’s oversight of the Closure Decisions precludes the possibility the agencies

 will make up for their dramatic cuts with increases elsewhere and makes certain that the

 Administration will fail to spend the full amount of funding appropriated by Congress.

         146.   OMB’s involvement also underscores that the purpose of the agencies’ planned

 RIFs is to “[e]liminat[e] non-statutorily mandated functions,” as Director Vought previously

 ordered in his February 26, 2025, Memorandum to Heads of Executive Departments and

 Agencies [Memo. at 3], and as the Closure Order now commands. Exec. Order No. 14,238 §

 2(a).




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                                       CLAIMS FOR RELIEF

                                            COUNT I
                                  Administrative Procedure Act
                         Arbitrary and Capricious and Abuse of Discretion
                                       (Agency Defendants)

           147.   Plaintiffs incorporate by reference the allegations contained in the preceding

 paragraphs.

           148.   Defendants include “agenc[ies]” under the APA. 5 U.S.C. §§ 551(1), 701.

           149.   Defendants took final agency actions that are subject to judicial review when they

 made decisions (“Closure Decisions”) to implement the Closure Order and substantially curtail

 their operations.

           150.   The APA requires courts to “hold unlawful and set aside” agency actions that are

 “arbitrary, capricious, an abuse of discretion, or otherwise not in accordance with law.” Id. §

 706(2).

           151.   An agency action is arbitrary or capricious where the agency fails to “articulate a

 satisfactory explanation for its action including a ‘rational connection between the facts found

 and the choice made.’” Motor Vehicle Mfrs. Ass’n of U.S. v. State Farm Mut. Auto. Ins. Co., 463

 U.S. 29, 43 (1983) (quoting Burlington Truck Lines v. United States, 371 U.S. 156, 168 (1962)).

           152.   When an agency “rescinds a prior policy,” the agency must, at minimum,

 “consider the ‘alternatives’ that are within the ambit of the existing policy,” “assess whether there

 were reliance interests,” and “weigh any such interests against competing policy concerns.”

 Dep’t of Homeland Sec. v. Regents, 591 U.S. 1, 30, 33 (2020).

           153.   A court “may uphold agency action only on the grounds that the agency invoked

 when it took the action.” Michigan v. EPA, 576 U.S. 743, 758 (2015) (citing SEC v. Chenery

 Corp., 318 U.S. 80, 87 (1943)).

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        154.    An action is also arbitrary and capricious if the agency “failed to consider . . .

 important aspect[s] of the problem” before it or did not take into account “legitimate reliance

 interests.” Regents, 591 U.S. at 25 (quoting State Farm, 463 U.S. at 43).

        155.    Defendants provided no reasoned explanation for their Closure Decisions.

        156.    Defendants failed to consider the legitimate reliance interests of States, grantees,

 the public, and other interested entities on the functions, programs, and offices that have been

 reduced or eliminated.

        157.    Defendants failed to consider reasonable alternatives to the elimination or

 reduction of functions, programs, and offices in Defendant agencies.

        158.    Defendants failed to weigh the purported benefits of eliminating their functions

 and programs against the costs.

        159.    The Closure Order on its face directs the agencies to engage in arbitrary and

 capricious actions by requiring them to eliminate discretionary functions and reduce to the

 minimum their statutory functions, without leaving room for the agencies to engage in reasoned

 analysis, assess alternatives, consider reliance, or do anything but eliminate their discretionary

 programs and minimize their remaining operations.

        160.    Pursuant to 5 U.S.C. § 706 and 28 U.S.C. § 2201, Plaintiff States are entitled to a

 declaration that the Closure Decisions violate the APA.

        161.    Plaintiff States are also entitled to vacatur of the Closure Decisions and a

 preliminary and permanent injunction preventing Defendants from enforcing or implementing

 the Closure Decisions.




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                                             COUNT II
                                    Administrative Procedure Act
                                         Contrary to Law
                                       (Agency Defendants)

           162.   Plaintiffs incorporate by reference the allegations contained in the preceding

 paragraphs.

           163.   Defendants include “agenc[ies]” under the APA. 5 U.S.C. §§ 551(1), 701.

           164.   Defendants took final agency actions that are subject to judicial review when they

 made the Closure Decisions.

           165.   The APA requires courts to “hold unlawful and set aside” agency actions that are

 “arbitrary, capricious, an abuse of discretion, or otherwise not in accordance with law.” Id. §

 706(2).

           166.   Defendants have acted contrary to law by terminating or failing to implement

 programs mandated by statute.

           167.   Defendants have acted contrary to law by failing to expend funds appropriated by

 Congress, or by delaying the expenditure of such funds, in a manner not permitted by the

 appropriations acts or the Impoundment Control Act.

           168.   Pursuant to 5 U.S.C. § 706 and 28 U.S.C. § 2201, Plaintiff States are entitled to a

 declaration that the Closure Decisions violate the APA.

           169.   Plaintiff States are also entitled to vacatur of the Closure Decisions and a

 preliminary and permanent injunction preventing Defendants from enforcing or implementing

 the Closure Decisions.




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                                              COUNT III
                                      Administrative Procedure Act
                                         Notice and Comment
                                         (Agency Defendants)

          170.   Plaintiffs incorporate by reference the allegations contained in the preceding

 paragraphs.

          171.   The APA requires that a reviewing court “hold unlawful and set aside agency

 action, findings, and conclusions found to be . . . without observance of procedure required by

 law.” 5 U.S.C. § 706(2)(D).

          172.   “The APA generally requires that before a federal agency adopts a rule it must

 first publish the proposed rule in the Federal Register and provide interested parties with an

 opportunity to submit comments and information concerning the proposal.” N.H. Hosp. Ass’n v.

 Azar, 887 F.3d 62, 70 (1st Cir. 2018) (citing 5 U.S.C. § 553). “Failure to abide by these

 requirements renders a rule procedurally invalid.” Id.

          173.   Notice-and-comment requirements may not apply to “interpretative rules, general

 statements of policy, or rules of agency organization, procedure, or practice.” 5 U.S.C. §

 553(b)(A). “The alternative to an interpretive rule is a legislative rule (interchangeably called a

 substantive rule), for which, absent another exception, the APA requires the agency to follow

 notice-and-comment procedures.” N.H. Hosp. Ass’n, 887 F.3d at 70. A legislative or substantive

 rule “creates rights, assigns duties, or imposes obligations, the basic tenor of which is not already

 outlined in the law itself.” La Casa Del Convaleciente v. Sullivan, 965 F.2d 1175, 1178 (1st Cir.

 1992).

          174.   Defendants’ actions implementing the Closure Order constitute legislative rules

 that could lawfully be issued only following notice-and-comment procedures.




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        175.    Without having proceeded through notice-and-comment procedures, the agencies’

 actions implementing the Closure Order are procedurally invalid under the APA.

        176.    Pursuant to 5 U.S.C. § 706 and 28 U.S.C. § 2201, Plaintiff States are entitled to a

 declaration that the Closure Decisions violate the APA.

        177.    Plaintiff States are also entitled to vacatur of the Closure Decisions and a

 preliminary and permanent injunction preventing Defendants from enforcing or implementing

 the Closure Decisions.

                                            COUNT IV
                              Violation of the Appropriations Clause
                                     (Against All Defendants)

        178.    Plaintiffs incorporate by reference the allegations contained in the preceding

 paragraphs.

        179.    Federal courts possess the power in equity to grant injunctive relief “with respect

 to violations of federal law by federal officials.” Armstrong v. Exceptional Child Ctr., Inc., 575

 U.S. 320, 326–27 (2015). “[T]he President’s actions may . . . be reviewed for constitutionality.”

 Franklin v. Massachusetts, 505 U.S. 788, 801 (1992). Plaintiff States are “entitled to invoke the

 equitable jurisdiction to restrain enforcement” of unconstitutional acts by federal officials,

 including “executive orders.” Panama Ref. Co. v. Ryan, 293 U.S. 388, 414 (1935).

        180.    The Appropriations Clause provides that “[n]o Money shall be drawn from the

 Treasury, but in Consequence of Appropriations made by Law.” U.S. Const. Art. I, § 9, cl. 7. The

 Appropriations Clause is a “straightforward and explicit command” that “no money can be paid

 out of the Treasury unless it has been appropriated by an act of Congress.” Office of Pers. Mgmt.

 v. Richmond, 496 U.S. 414, 424 (1990) (quoting Cincinnati Soap Co. v. United States, 301 U.S.

 308, 321 (1937)).



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        181.    Here, Congress has expressly directed that funds be expended for the operations

 of agencies that it has created. Defendants’ unilateral executive action to decline to expend

 appropriated funds therefore infringes on Congress’s appropriations power and is

 unconstitutional.

        182.    This court is authorized to enjoin any action by the Executive and his agencies

 that “is unauthorized by statute, exceeds the scope of constitutional authority, or is pursuant to

 unconstitutional enactment.” Youngstown Sheet & Tube Co. v. Sawyer, 103 F. Supp. 569 (D.D.C.

 1952), aff’d, 343 U.S. 579 (1952).

        183.    Pursuant to 28 U.S.C. § 2201, the States are also entitled to a declaration that the

 Closure Order and the Closure Decisions violate the Appropriations Clause.

                                             COUNT V
           Violation of the Separation of Powers Doctrine – Usurping Legislative Authority
                                       (Against All Defendants)

        184.    Plaintiffs incorporate by reference the allegations contained in the preceding

 paragraphs.

        185.    The separation of powers doctrine is “foundational” and “evident from the

 Constitution’s vesting of certain powers in certain bodies.” Seila L. LLC v. CFPB, 591 U.S. 197,

 227 (2020); see also Trump v. United States, 603 U.S. 593, 637–38 (2024).

        186.    Article I, Section 1 of the United States Constitution enumerates that: “[a]ll

 legislative Powers herein granted shall be vested in . . . Congress.” U.S. Const. art. I, § 1. The

 Constitution also “exclusively grants the power of the purse to Congress, not the President.”

 City & County of San Francisco v. Trump, 897 F.3d 1225, 1231 (9th Cir. 2018).

        187.    The Executive’s powers are limited to those specifically conferred by “an act of

 Congress or from the Constitution itself.” Youngstown Sheet & Tube Co. v. Sawyer, 343 U.S.



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 579, 585 (1952). The Executive has no power “to enact, to amend, or to repeal statutes.” Clinton

 v. City of New York, 524 U.S. 417, 438 (1998). And “settled, bedrock principles of constitutional

 law” require the Executive to expend the funds that Congress duly authorizes and appropriates.

 In re Aiken County, 725 F.3d 255, 259 (D.C. Cir. 2013) (Kavanaugh, J.).

        188.    Given these principles, where the Executive Branch overrides a statute or the

 legislative intent of Congress, it violates the separation of powers doctrine.

        189.    Here, where Congress has created the Defendant Agencies and the programs they

 administer, the Executive cannot do away with the Agencies or effectively incapacitate their

 ability to administer appropriated grants or carry out statutorily assigned duties. The actions

 challenged herein thus violate Constitutional and statutory mandates, contravene Congressional

 intent, and are unlawful.

        190.    This court is authorized to enjoin any action by the Executive and his agencies

 that “is unauthorized by statute, exceeds the scope of constitutional authority, or is pursuant to

 unconstitutional enactment.” Youngstown Sheet & Tube Co, 103 F. Supp. at 576, aff’d, 343 U.S.

 579. Plaintiff States are entitled to preliminary and permanent injunctive relief barring the

 actions challenged herein.

        191.    Pursuant to 28 U.S.C. § 2201, Plaintiff States are also entitled to a declaration that

 the actions challenged herein violate the constitutional separation of powers doctrine, and

 impermissibly arrogate to the executive power that is reserved to Congress.

                                          COUNT VI
                   Violation of the Separation of Powers – Take Care Clause
                                    (Against All Defendants)

        192.    Plaintiffs incorporate by reference the allegations contained in the preceding

 paragraphs.



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        193.    The Take Care Clause provides that the Executive must “take Care that the Laws

 be faithfully executed . . . .” U.S. Const. art. II, § 3; Util. Air Reg. Grp. v. EPA, 573 U.S. 302, 327

 (2014) (“Under our system of government, Congress makes the laws and the President . . .

 faithfully executes them”) (internal quotation marks and citation omitted).

        194.    The Executive violates the Take Care Clause where it overrides statutes enacted

 by Congress and signed into law or duly promulgated regulations implementing such statutes.

 See In re United Mine Workers of Am. Int’l Union, 190 F.3d 545, 551 (D.C. Cir. 1999) (holding

 that “the President is without authority to set aside congressional legislation by executive

 order”); Kendall v. United States, 37 U.S. (12 Pet.) 524, 613 (1838) (rejecting argument that by

 charging the President with faithful execution of the laws, the Take Care clause “implies a power

 to forbid their execution”).

        195.    By dismantling the Defendant Agencies and the programs they administer, which

 are creatures of Congress, the Executive has failed to faithfully execute the laws enacted by

 Congress in violation of the Take Care Clause.

        196.    This court is authorized to enjoin any action by the Executive and his agencies

 that “is unauthorized by statute, exceeds the scope of constitutional authority, or is pursuant to

 unconstitutional enactment.” Youngstown Sheet & Tube Co., 103 F. Supp. at 576, aff’d, 343 U.S.

 579. Plaintiff States are entitled to preliminary and permanent injunctive relief barring the

 actions challenged herein.

        197.    Pursuant to 28 U.S.C. § 2201, the States are also entitled to a declaration that the

 actions challenged herein violate the Take Care Clause.




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                                           COUNT VII
                                        Equitable Ultra Vires
                                      (Against All Defendants)

        198.    Plaintiffs incorporate by reference the allegations contained in the preceding

 paragraphs.

        199.    Neither the President nor an agency can take any action that exceeds the scope of

 their constitutional and/or statutory authority.

        200.    Federal courts possess the power in equity to grant injunctive relief “with respect

 to violations of federal law by federal officials.” Armstrong, 575 U.S. at 326–27. Indeed, the

 Supreme Court has repeatedly allowed equitable relief against federal officials who act “beyond

 th[e] limitations” imposed by federal statute. Larson v. Domestic & Foreign Com Corp., 337

 U.S. 682, 689 (1949).

        201.    The actions challenged herein are contrary to law and outside of Defendants’

 authority because Defendants cannot dismantle federal agencies and terminate their programs by

 eliminating the staff and resources the agencies require to meet their statutory obligations.

        202.    Plaintiff States are entitled to preliminary and permanent injunctive relief barring

 the actions challenged herein.

        203.    Pursuant to 28 U.S.C. § 2201, Plaintiff States are also entitled to a declaration that

 the actions challenged herein are contrary to law and outside of Defendants’ authority.

                                      PRAYER FOR RELIEF

 WHEREFORE, Plaintiffs pray that this Court:

       i.   Declare that the Closure Order and the Closure Decisions are unlawful and/or

            unconstitutional because they violate the APA and/or the United States Constitution;

      ii.   Pursuant to 5 U.S.C. § 705, postpone the effective date of the Closure Decisions;



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     iii.   Pursuant to 5 U.S.C. § 706, vacate the Closure Decisions;

     iv.    Preliminarily and permanently enjoin the Agency Defendants from implementing the

            Closure Order and the Closure Decisions;

      v.    Award Plaintiffs their reasonable fees, costs, and expenses, including attorneys’ fees,

            pursuant to 28 U.S.C. § 2412; and

     vi.    Grant other such relief as this Court may deem proper.



                                                                     Respectfully submitted,




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